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GIBSON DUNN                                                                                                                      Gibson, Dunn & Crutcher LLP

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   July 2, 2019


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  The Honorable Colleen McMahon
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  U.S. District Court for the Southern District of New York
  500 Pearl Street, Room 2550                                                                             ~l_Jfd___
  New York, New York 10007

  Re:     Nike Inc. and Converse Inc. v. Maria Wu, et al., 2013 Civ. 8012 (CM)

  Dear Judge McMahon:

  We represent Next Investments ("Next") in the above-referenced action.

  Pursuant to Your Honor's Individual Rules of Practice I.D and IV.E, Next respectfully
  requests an extension of nine business days to file its Opposition to Bank of China, Bank of
  Communications, China Construction Bank, China Merchants Bank and Industrial and
  Commercial Bank of China's (the "Moving Banks") Motion for Reimbursement of Fees,
  Costs and Expenses filed on June 20, 2019 (ECF No. 194) (the "Motion for
  Reimbursement"). The original deadline for Next's Opposition was July 8, 2019. Next has
  informed the Banks that simultaneously with its Opposition Next intends to file a cross-
  motion against the Moving Banks and a motion against ABC to hold the Banks in contempt
  of Court for the Banks' failures to abide by the Court's orders in this action freezing the
  counterfeiters' accounts at the Banks (Next's "Motion for Contempt").

  In an effort to streamline and consolidate the briefing before this Court, Next requests
  permission to file one 60 page brief in support of both its Motion for Contempt against all six
  Banks and its Opposition to the Motion for Reimbursement. There is overlap in the factual
  background related to the Motion for Contempt and the Moving Banks' Motion for
  Reimbursement and Next believes a single brief will be efficient and avoid repetition.
  However, Next requires additional room to address both motions in a single brief. Moreover,
  in order to provide the necessary evidence in its Motion for Contempt to satisfy the clear and
  convincing evidence standard for contempt, and, in accordance with this Court's rules
  requiring the brief to include all relevant facts, see Individual Rule of Practice IV.E, Next
  requires additional space to ensure that all factual information upon which Next relies is
  incorporated in to its brief. While Next would normally be entitled to a 25 page brief for its
  Opposition and a separate 25 pages for each brief in support of a motion to hold each
  individual Bank in contempt, Next believes that a single 60 page brief will effectively


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  convey its arguments without overburdening the Court. The Banks do not oppose this
  request.

  In tum, the Moving Banks requested an extension from July 29, 2019 to September 6, 20 l 9
  to file their Oppositions to Next's Motion for Contempt. In order to consolidate briefing, the
  Moving Banks also request an extension to that date for their Reply in Support of their
  Motion for Reimbursement and plan to file a single brief in support thereof. The Moving
  Banks respectfully request to extend the page limit for that brief to 50 pages in order to
  adequately address both their opposition and reply. In order to keep all parties on the same
  schedule and to accommodate other scheduling conflicts, ABC also requested an extension to
  September 6, 2019 to file its Opposition to Next's Motion for Contempt. Next does not
  oppose these requests.

  Finally, Next respectfully requests an extension of 10 business days to file its Reply in
  Support of its Motion for Contempt so that Next's Reply would be due on September 27,
  2019. Next requests 30 pages for this brief in order to incorporate all evidence of contempt
  related to each of the six Banks and address each of their individual arguments in opposition.

  There have been no previous requests for extension relating to these motions.

  Accordingly, with the permission of the Court, the briefing schedule would be as follows:

                       Date                                          Filing
  June 20, 2018                                   Moving Banks' Motion for Reimbursement
  July 19, 2019                                   Next's Opposition to Moving Banks' Motion
                                                  for Reimbursement; Next's Motion against
                                                  ABC and Cross-Motion against the Moving
                                                  Banks to Hold the Banks in Contempt of
                                                  Court
  September 6,2019                                Moving Banks' Reply in Support of Motion
                                                  for Reimbursement and Opposition to Next's
                                                  Motion to Hold the Banks in Contempt of
                                                  Court
                                                  ABC's Opposition to Next's Motion to Hold
                                                  the Banks in Contempt of Court
  September 27, 2019                              Next's Reply in Support of its Motion to
                                                  Hold the Banks in Contempt of Court

  Next and the Banks have met and conferred and agree to the proposed dates and page limits
  set forth herein.
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  Lastly, the parties recognize that this Court denied the Moving Banks' request for oral
  argument when the only motion that had been filed was the Motion for Reimbursement.
  ECF No. 202. In light of the issues that will be raised in Next's Motion for Contempt,
  counsel for all parties respectfully request that the Court hear oral argument on the cross-
  motions.



  Respectfully,



  Isl Robert Weigel


  cc: All counsel ofrecord (via ECF)
